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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


Martin Carpenter and Jaclyn Ott on behalf        Case Number: 21-cv-02268-PJS-ECW
of Themselves and all Others Similarly
Situated,
                Plaintiffs,

v.                                                               ORDER

Marathon Petroleum Corporation and St. Paul
Park Refining Co. LLC, d/b/a Marathon St. Paul
Park Refinery,

                Defendants.


      This case is before the Court on the Stipulation to Extend Time to Respond to

Complaint (Dkt. 7). Having considered the Stipulation, IT IS ORDERED that

Defendant shall have until and including December 10, 2021 to answer or otherwise

respond to the Complaint.



Dated: November 1, 2021                 s/Elizabeth Cowan Wright
                                        ELIZABETH COWAN WRIGHT
                                        United States Magistrate Judge
